Filed 05/18/15                                                            Case 15-11527                                               Doc 20
                                                     UNITED STATES BANKRUPTCY COURT
                                                      EASTERN DISTRICT OF CALIFORNIA

     Name of Debtor: Walker Clifton Murrell, III                                     Case No. 15-11527-A-13K
                               Alecia Marie Murrell




     Last four digits of Soc. Sec. No.:                 xxx-xx-6301
     Last four digits of Soc. Sec. No.:                 xxx-xx-5414

                                                                         CHAPTER 13 PLAN

    YOU WILL BE NOTIFIED OF THE DATE, TIME, AND LOCATION OF A HEARING TO CONFIRM THIS PLAN
        AND OF THE DEADLINE TO OBJECT TO ITS CONFIRMATION. IN THE ABSENCE OF A TIMELY
    WRITTEN OBJECTION, THE PLAN MAY BE CONFIRMED WITHOUT A HEARING. IT WILL BE EFFECTIVE
                                   UPON ITS CONFIRMATION.
                                                 Section 1. Plan Payments and Commitment Period

            1.01   Monthly plan payments. To complete this plan, Debtor shall submit to the supervision and control of
    Trustee on a monthly basis the sum of $ 1,776.00 from future earnings. This monthly plan payment is subject to
    adjustment pursuant to section 2.08(b)(4) below and it must be received by Trustee not later than the 25th day of each
    month beginning the month after the order for relief under chapter 13. The monthly plan payment includes all post-petition
    charges due on Class 1 secured claims and adequate protection payments due on Class 2 secured claims.

            1.02. Other payments. In addition to the submission of future earnings, Debtor will make payment(s) derived
    from property of the bankruptcy estate, property of Debtor, or from other sources, as follows: .

            1.03. Duration of payments. The monthly plan payments will continue for 36 months unless all allowed
    unsecured claims are paid in full within a shorter period of time. If necessary to complete the plan, monthly payments may
    continue for an additional 6 months, but in no event shall monthly payments continue for more than 60 months.

                                                              Section 2. Claims and Expenses

    A. Proofs of Claim

            2.01. With the exception of the payments required by sections 2.02, 2.03, 2.11, and 3.01, a claim will not be
    paid pursuant to this plan unless a timely proof of claim is filed by or on behalf of a creditor, including a secured creditor.

            2.02. Monthly contract installments and other charges falling due after the filing of the case shall be paid to
    Class 1 and 4 claim holders and to the nondebtor party to assumed executory contracts/unexpired leases whether or not
    the plan is confirmed or proofs of claim have been filed.

             2.03. Post-petition amounts due on account of a domestic support obligation, a loan from retirement or thrift
    savings plan, or an executory contract/unexpired lease being assumed, shall be paid by Debtor directly to the person
    entitled to such payments whether or not the plan is confirmed or a proof of claim has been filed.

             2.04. The proof of claim, not this plan or the schedules, shall determine the amount and classification of a claim
    unless the court’s disposition of a claim objection, valuation motion, or lien avoidance motion affects the amount or
    classification of the claim.

    B. Administrative Expenses

           2.05. Trustee's fees. Pursuant to 28 U.S.C. § 586(e), Trustee shall receive up to 10% of plan payments,
    whether made before or after confirmation, but excluding direct payments on Class 4 claims.

            2.06. Debtor's attorney's fees. Debtor’s attorney of record was paid $ 100.00 prior to the filing of the case.
    Subject to prior court approval, additional fees of $ 3,900.00 shall be paid through this plan. Debtors' attorney will seek
    the court's approval by [choose one]:      complying with Local Bankruptcy Rule 2016-1(c); or    filing and serving a motion
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    in accordance with 11 U.S.C. §§ 329 and 330, Fed. R. Bankr. P. 2002, 2016, and 2017.

            2.07. Administrative expenses. In accordance with sections 4.02 and 4.03 below, $108.34 of each monthly
    plan payment shall be paid on account of: (a) compensation due a former chapter 7 trustee; (b) approved administrative
    expenses; and (c) approved additional attorney’s fees. Approved administrative expenses shall be paid in full through this
    plan except to the extent a claimant agrees otherwise or 11 U.S.C. § 1326(b)(3)(B) is applicable.

    C. Secured Claims

              2.08.      Class 1 includes all delinquent secured claims that mature after the completion of this plan.

              (a) Cure of arrears. All arrears on Class 1 claims shall be paid in full by Trustee. The cure will be paid in the equal
              monthly installments specified in the table below as the "arrearage dividend."

                         (1) The cure shall include interest unless a "0%" rate is specified below. If the provision for interest is left
                         blank, interest will accrue at the rate of 10%.

                         (2) The arrearage dividend must be applied by the Class I creditor to the arrears. If this plan provides for
                         interest on the arrears, the arrearage dividend shall be applied first to such interest, then to the arrears.

              (b) Post-petition charges. Trustee shall maintain all payments falling due after the filing of the case to the holder
              of each Class 1 claim.

                         (1) If Debtor makes a partial plan payment that is insufficient to satisfy such post-petition payments,
                         distributions will be made in the order such claims are listed below.

                         (2) Trustee will not make a partial distribution on account of a post-petition payment.

                         (3) If Debtor makes a partial plan payment, or if it is not paid on time, and Trustee is unable to make timely
                         a post-petition payment, Debtor’s cure of this default shall include any late charge.

                         (4) The automatic stay is modified to permit the holders of Class 1 claims to send statements, impound,
                         and escrow notices, and notices concerning interest rate adjustments or the assessment of fees and costs
                         to Debtor. However, Trustee will not make post-petition payment adjustments or pay post-petition fees,
                         charges, or assessments until they are demanded in accordance with Fed. R. Bankr. P. 3002.1.

                                    (i) If the holder of a Class 1 claim gives Debtor and Trustee notice of a payment change in
                                    accordance with Fed. R. Bankr. P. 3002.1(b), Debtor shall adjust the plan payment accordingly.

                                    (ii) If the holder of a Class 1 claim gives Debtor and Trustee notice of post-petition fees,
                                    expenses, and charges in accordance with Fed. R. Bankr. P. 3002.1(c), Debtor shall modify this
                                    plan if Debtor wishes to provide for such fees, expenses, and charges.

                         (5) Post-petition payments made by Trustee and received by the holder of a Class 1 claim shall be applied
                         as if the claim were current and no arrearage existed on the date the case was filed.

              (c) No claim modification. Each Class 1 creditor shall retain its lien. Other than to cure of any arrearage, this
              plan does not modify Class 1 claims.

              Class 1 Creditor's Name/                                            Interest Rate   Arrearage        Monthly Contract
               Collateral Description                         Amount of Arrears    on Arrears     Dividend        Installment Amount
          OneWest Bank / Residence at 2128
     1.   Jason St., Bakersfield CA 93312                            16,620.00       0.00%           461.98              1,108.00
                                                                                         Totals: $461.98                 $1,108.00

           2.09. Class 2 includes all secured claims that are modified by this plan, or that have matured or will
    mature before the plan is completed.

              (a) Payment of claim. Trustee shall pay each Class 2 claim the equal monthly amount specified below as the
              monthly dividend. Subject to section 2.09(c), Class 2 claims will be paid in full. The payment of a Class 2 claim
              shall include interest unless a "0%" rate is specified below. If no rate is specified, a 10% rate will be imputed.
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              (b) Adequate protection payments. Prior to confirmation, Trustee shall pay on account of each allowed Class 2
              claim secured by a purchase money security interest in personal property an adequate protection payment if
              required by section 1326(a)(1)(C). The adequate protection payment shall equal the monthly dividend. Adequate
              protection payments shall be disbursed by Trustee in connection with his customary month-end disbursement
              cycle beginning the month after the case was filed. If a Class 2 claimant is paid an adequate protection payment,
              that claimant shall not be paid a monthly dividend for the same month.

              (c) Claim amount. The amount of a Class 2 claim is determined by applicable nonbankruptcy law. However,
              subject to the two limitations below, Debtor may reduce the claim to the value of the collateral securing it by filing,
              serving, setting for hearing, and prevailing on a motion to determine the value of that collateral. If this plan
              proposes to reduce a claim based upon the value of its collateral, the failure to move to value that collateral in
              conjunction with plan confirmation may result in the denial of confirmation.

                         (1) Debtor is prohibited from reducing a claim if the claim holder has a purchase money security interest
                         and the claim either was incurred within 910 days of the filing of the case and is secured by a motor
                         vehicle acquired for the personal use of Debtor, or was incurred within 1-year of the filing of the case and
                         is secured by any other thing of value.

                         (2) Debtor is prohibited from modifying the rights of a holder of a claim secured only by a security interest
                         in real property that is Debtor’s principal residence.

            (d) Lien retention. Each Class 2 creditor shall retain its existing lien until completion of the plan and, unless not
            required by Bankruptcy Court, entry of Debtor’s discharge.
     Class 2 Creditor's Name and          Purchase             Amount              Value of       Interest Rate        Monthly
     description of collateral        Money Security         claimed by           creditor's                           Dividend
                                           Interest            creditor        interest in its
                                          personal                                collateral
                                          property?
                                           YES/NO
     A. Class 2 claims not reduced
     based on value of collateral
          -NONE-
     B. Class 2 claims reduced
     based on value of collateral
          -NONE-
     C. Class 2 claims reduced to
     $0 based on value of collateral
          -NONE-
                                                                                                                              Total $0.00


              2.10. Class 3 includes all secured claims satisfied by the surrender of collateral. Upon confirmation of the
    plan, all bankruptcy stays are modified to allow a Class 3 secured claim holder to exercise its rights against its collateral.

                                                                                                         Is Deficiency a Priority Claim?
     Class 3 Creditor's Name/Collateral Description                               Estimated Deficiency              YES/NO
          -NONE-

             2.11. Class 4 includes all secured claims paid directly by Debtor or third party. Class 4 claims mature
    after the completion of this plan, are not in default, and are not modified by this plan. These claims shall be paid by Debtor
    or a third person whether or not the plan is confirmed. Upon confirmation of the plan, all bankruptcy stays are modified to
    allow the holder of a Class 4 secured claim to exercise its rights against its collateral and any nondebtor in the event of a
    default under applicable law or contract.

     Class 4 Creditor's Name/Collateral Description                           Monthly Contract Installment   Person Making Payment
          -NONE-

              2.12.      Secured claims not listed as Class 1, 2, 3, or 4 claims are not provided for by this plan. The failure
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    to provide for a secured claim in one of these classes may be cause to terminate the automatic stay.

    D. Unsecured Claims

             2.13. Class 5 consists of unsecured claims entitled to priority pursuant to 11 U.S.C. § 507. These claims
    will be paid in full except to the extent the claim holder has agreed to accept less or 11 U.S.C. § 1322(a)(4) is applicable.
    When section 1322(a)(4) is applicable to a claim, the claim holder and the treatment of the claim shall be specified in the
    Additional Provisions. The failure to provide the foregoing treatment for a priority claim is a breach of this plan.

     Class 5 Creditor's Name                                                      Type of Priority                        Claim Amount
          -NONE-

             2.14. Class 6 includes designated unsecured claims, such as co-signed unsecured debts, that will be paid in
    full even though all other nonpriority unsecured claims may not be paid in full.

     Class 6 Creditor's Name                                                      Reason for Special Treatment            Claim Amount
          -NONE-

              2.15. Class 7 consists of all other unsecured claims not listed as Class 5 or 6 claims. These claims will
    receive no less than a 0 % dividend. These claims, including the under-collateralized portion of secured claims not
    entitled to priority, total $ 57,327.00 .

                                              Section 3. Executory Contracts And Unexpired Leases

            3.01. Debtor assumes the executory contracts and unexpired leases listed below. Debtor shall pay directly to
    the other party to the executory contract or unexpired lease, before and after confirmation, all post-petition payments.
    Unless a different treatment is required by 11 U.S.C. § 365(b)(1) and is set out in the Additional Provisions, pre-petition
    arrears shall be paid in full. The monthly dividend payable on account of those arrears is specified in the table below.

             3.02. Any executory contract or unexpired lease not listed in the table below is rejected. Upon confirmation of
    the plan, all bankruptcy stays are modified to allow the nondebtor party to an unexpired lease to obtain possession of
    leased property, to dispose of it under applicable law, and to exercise its rights against any nondebtor in the event of a
    default under applicable law or contract.

     Name of Other Party to                                                 Regular Payment   Pre-petition Arrears Arrearage Dividend
     Executory Contract/Unexpired Lease
          -NONE-
                                                                                                            Total $0.00

                                                Section 4. Payment of Claims and Order of Payment

              4.01.      After confirmation, payments to holders of allowed claims and approved expenses will be made monthly.

             4.02. Distribution of plan payment. Debtor’s monthly plan payment must total: (a) Trustee’s fees; (b)
    post-petition payments due on Class 1 claims; (c) the monthly dividend specified in section 2.07 for administrative
    expenses; and (d) the monthly dividends payable on account of Class 1 arrearage claims, Class 2 claims and executory
    contract and unexpired lease arrearage claims. To the extent plan payments are not needed to pay the foregoing
    dividends, they shall be paid pro rata, first to Class 5 priority claims, second to Class 6 unsecured claims, and third to
    Class 7 unsecured claims. Over the plan’s duration, these distributions must equal the total dividends required by sections
    2.05, 2.07, 2.08, 2.09, 2.13, 2.14, and 2.15.

            4.03. Priority of payment among administrative expenses. The portion of the monthly plan payment
    allocated in section 2.07 for administrative expenses, shall be distributed first to any former chapter 7 trustee up to the
    monthly amount required by section 1326(b)(3)B), and second to holders of approved administrative expenses on a pro
    rata basis.

                                                           Section 5. Miscellaneous Provisions




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             5.01. Vesting of property. Any property of the estate [choose one] shall        shall not    revest in Debtor upon
    confirmation of the plan. In the event the case is converted to a case under Chapter 7, 11, or 12 of the Bankruptcy Code or
    is dismissed, the property of the estate shall be determined in accordance with applicable law.

             5.02. Debtor's duties. In addition to the duties imposed upon Debtor by the Bankruptcy Code, the Bankruptcy
    Rules, and applicable nonbankruptcy law, the court’s Local Bankruptcy Rules impose additional duties on Debtor, including
    without limitation, obtaining prior court authorization prior to transferring property or incurring additional debt, maintaining
    insurance, providing Trustee copies of tax returns, W-2 forms, 1099 forms, and quarterly financial information regarding
    Debtor’s business or financial affairs, and providing Trustee not later than the 14 days after the filing of the case with the
    Domestic Support Obligation Checklist for each domestic support obligation and a Class 1 Worksheet and Authorization to
    Release Information for each Class 1 claim.

              5.03. Remedies upon default. If Debtor defaults under this plan, or if the plan will not be completed within six
    months of its stated term, not to exceed 60 months, Trustee or any other party in interest may request appropriate relief by
    filing a motion and setting it for hearing pursuant to Local Bankruptcy Rule 9014-1. This relief may consist of, without
    limitation, dismissal of the case, conversion of the case to chapter 7, or relief from the automatic stay to pursue rights
    against collateral. If the court terminates the automatic stay to permit a Class 1 or 2 secured claim holder to proceed
    against its collateral, unless the court orders otherwise, Trustee shall make no further payments on account of such
    secured claim and any portion of such secured claim not previously satisfied under this plan shall be satisfied as a Class 3
    claim. Any deficiency remaining after the creditor’s disposition of its collateral shall be satisfied as a Class 7 unsecured
    claim subject to the timely filing of a proof of claim.

                                                             Section 6. Additional Provisions

            This plan is the court’s standard plan form. Other than to insert text into designated spaces, expand tables to
    include additional claims, or change the title to indicate the date of the plan or that the plan is a modified plan, the
    preprinted text of this form has not been altered. In the event there is an alteration, it will be given no effect. The signatures
    below are certifications that the standard plan form has not been altered.

            Despite the foregoing, as long as consistent with the Bankruptcy Code, Debtor may propose additional provisions
    that modify the preprinted text. All additional provisions shall be on a separate piece of paper appended at the end of this
    plan. Each additional provision shall be identified by a section number beginning with section 6.01and indicate which
    section(s) of the standard plan form have been modified.

              Additional Provisions [choose one] are                     are not   appended to this plan.
                                                                          (Signature Page)



     Dated: May 15, 2015                                                           /s/ Walker Clifton Murrell, III
                                                                                   Walker Clifton Murrell, III
                                                                                   Debtor

                                                                                   /s/ Alecia Marie Murrell
                                                                                   Alecia Marie Murrell
                                                                                   Joint debtor


     Dated: May 15, 2015                                                           /s/ Robert S. Williams
                                                                                   Robert S. Williams 73172
                                                                                   Debtor's Attorney




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